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AO 450 (GAS Rev 09/20) Judgment in a Civil Case

 

United States District Court
Southern District of Georgia

Robe Dwyane Folston, Jr.

Plaintiff,
JUDGMENT IN A CIVIL CASE

Vv. CASE NUMBER: 4:19-cv-256
Mrs. K. Brown; and Ms. Rhett

Defendants.

Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

Decision by Court.This action came before the Court. The issues have been considered and a decision has been
rendered.

IT IS ORDERED AND ADJUDGED

that, in accordance with the Court's Order dated October 16, 2020, adopting the Report and
Recommendation of the United States Magistrate Judge as the opinion of the Court, judgment is

entered dismissing Plaintiff's complaint. This civil action stands CLOSED.

   

Approved by:

 

October 27, 2020 John E. TAplgtt, Acting Clerk

 

Date - Ali

 

GAS Rev 10/2020
